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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                            Case No.:

JAMES WHELPLEY, individually and
on behalf of A.W., a minor
,

         Plaintiff,

v.

COMENITY BANK, a/k/a
COMENITY CAPITAL BANK

      Defendant.
_________________________________________/
_______________________________________________

         IN THE CIRCUIT COURT FOR THE TWENTIETH JUDICIAL CIRCUIT
                      IN AND FOR LEE COUNTY FLORIDA

JAMES WHELPLEY, individually and
on behalf of A.W., a minor

         Plaintiff,

v.                                                          Case No.: 18-CA-002126

COMENITY BANK, a/k/a
COMENITY CAPITAL BANK

      Defendants
_________________________________________/

                 DEFENDANT’S NOTICE AND PETITION FOR REMOVAL

         TO:     The Honorable Judges of the United States District Court for the Middle District

of Florida.

         COME NOW, Defendant and Petitioner for removal, Comenity Bank (“Defendant”), and

with reservation of all rights, hereby remove from the Twentieth Judicial Circuit in and for Lee
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County, Florida, the proceeding entitled and captioned: James Whelpley v. Comenity Bank,

Case No.: 18-CA-002126, on the basis of federal question jurisdiction.

       The Petition is based on the following grounds:

       1. Defendant/Petitioner, has been named as Defendant in a civil action brought against

           them in the Twentieth Judicial Circuit in and for Lee County, Florida, the proceeding

           entitled and captioned: James Whelpley v. Comenity Bank, Case No.: 18-CA-

           002126. A copy of the Statement of Claim served in that action, in addition to all

           process and pleadings served upon Defendant/Petitioner, is attached hereto as Exhibit

           “A”.

       2. The aforesaid action was commenced by service of process consisting of the

           Summons and Complaint, upon Defendant, on May 24, 2018.

       3. The controversy herein between the Plaintiff and Defendant, is a controversy based

           upon consumer protection right created by and enforced through federal statutes, 47

           U.S.C. § 227, et seq., entitled the Telephone Consumer Protection Act.

       4. The above-described action is a civil action over which this Court has original

           jurisdiction under the provisions of 28 U.S.C. § 1331, and is one that may be removed

           to this Court by the Defendants/Petitioners pursuant to the provisions of 28 U.S.C. §

           1441(a), in that it is a civil action based upon a federal question over which this Court

           has original jurisdiction.

       5. This Petition for Removal is filed with this Court within thirty (30) days after service

           on Defendant of the Statement of Claim in the above-styled action and is, therefore,

           timely pursuant to 28 U.S.C. § 1446 (b).
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       WHEREFORE Defendants respectfully request that the above entitled action be removed

from the Twentieth Judicial Circuit in and for Lee County, Florida, to the United States District

for the Middle District of Florida for all further proceedings.



                                               Respectfully submitted by:

                                               /s/ Dale T. Golden
                                               /s/ Charles J. McHale
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                                               Attorneys for Defendant

                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF. I also certify that the foregoing document is being served this

day on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF

or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.


                                               /s/ Charles J. McHale
                                               GOLDEN SCAZ GAGAIN, PLLC
                                               Charles J. McHale, Esquire
                                               FBN: 0026555
